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               IN THE UNITED STATES DISTRICT COURT
          NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

DERRELL FULTON, a.k.a. DARRYL              )
FULTON,                                    )
                                           )
            Plaintiff,                     )
                                           )
     v.                                    )      Case No. __________________
                                           )
CHICAGO POLICE OFFICERS WILLIAM            )
FOLEY, #20450, MICHAEL CLANCY,             )
#20395, JOHN HALLORAN, #20453,             )
KENNETH BOUDREAU, #20435, JAMES            )
O’BRIEN, #20466, EDWARD CARROLL,           )
#20346, WILLIAM MOSER, #20465,             )
ALBERT GRAF, #20480, S. TURNER,            )
#20874, OTHER UNIDENTIFIED                 )
CHICAGO POLICE OFFICERS, THE               )
CITY OF CHICAGO, ASSISTANT                 )
STATE’S ATTORNEY HAROLD                    )
GARFINKEL, and COOK COUNTY,                )
                                           )
            Defendants.                    )

                                 COMPLAINT

     Plaintiff DERRELL FULTON, a.k.a. DARRYL FULTON, by and through his

attorneys, Kathleen T. Zellner & Associates, P.C., complains of Defendants,

CHICAGO POLICE OFFICERS WILLIAM FOLEY, MICHAEL CLANCY, JOHN

HALLORAN, KENNETH BOUDREAU, JAMES O’BRIEN, EDWARD CARROLL,

WILLIAM MOSER, ALBERT GRAF, S. TURNER, OTHER UNIDENTIFIED

CHICAGO POLICE OFFICERS, THE CITY OF CHICAGO, ASSISTANT STATE’S

ATTORNEY HAROLD GARFINKEL, and COOK COUNTY, and alleges as follows:




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                                     Introduction

         1.      In April of 1994 and continuing thereafter, the above-named

Defendants entered into and executed a conspiracy to cause Plaintiff’s unlawful

arrest and subsequent prosecution for a brutal rape and murder he did not commit.

The centerpiece of the conspiracy was Plaintiff’s purported “confession,” a statement

which the Defendants coerced from Plaintiff through physical force, mental

coercion, and false promises of leniency. Defendants likewise fabricated evidence

from other witnesses to bolster charges they knew to be otherwise without probable

cause.        As a direct and proximate result of Defendants’ egregious misconduct,

Plaintiff was convicted and incarcerated more than 23-and-a-half years for crimes in

which he had no involvement. This lawsuit seeks redress for the extreme hardship

and incalculable harm Defendants thereby caused Plaintiff to suffer.

                                Jurisdiction and Venue

         2.      This action is brought under 42 U.S.C. § 1983 to redress the

deprivation under color of law of Plaintiff’s rights as secured by the United States

Constitution and under Illinois state law.

         3.      This Court has original jurisdiction of Plaintiff’s federal claims

pursuant to 28 U.S.C. § 1331, and supplemental jurisdiction of Plaintiff’s state-law

claims pursuant to 28 U.S.C. § 1367.

         4.      Venue is proper under 28 U.S.C. § 1391(b) as, on information and

belief, Defendants reside in this judicial district, and the events and omissions

giving rise to Plaintiff’s claims occurred within this judicial district.



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                                    The Parties

       5.     Plaintiff Derrell Fulton (“Plaintiff”) is a resident and citizen of the

state of Illinois.

       6.     At all relevant times, Defendants William Foley (“Defendant Foley”),

Michael Clancy (“Defendant Clancy”), John Halloran (“Defendant Halloran”),

Kenneth Boudreau (“Defendant Boudreau”), James O’Brien (“Defendant O’Brien”),

Edward Carroll (“Defendant Carroll”), William Moser (“Defendant Moser”), Albert

Graf (“Defendant Graf”), S. Turner (“Defendant Turner”), and other Unidentified

Chicago Police Officers were duly appointed members of the Chicago Police

Department.

       7.     The Defendant Officers are named in their individual capacity.

       8.     At all relevant times, the Defendant Officers were acting under color of

state law and in the course and scope of their employment with the City of Chicago.

       9.     At all relevant times, Defendant City of Chicago was an Illinois

municipal corporation. Defendant City of Chicago is liable for the wrongful acts and

omissions of the Defendant Officers taken in the course and scope of their

employment pursuant to the Defendant City of Chicago’s statutory obligation to

indemnify them.

       10.    At all relevant times, Defendant Harold Garfinkel (“Defendant

Garfinkel”) was an attorney licensed to practice law in the State of Illinois and a

duly appointed Cook County Assistant State’s Attorney.

       11.    Defendant Garfinkel is sued in his individual capacity.



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      12.    At all relevant times, Defendant Garfinkel was acting under color of

state law and in the course and scope of his employment with Defendant Cook

County.

      13.    At all relevant times, Defendant Cook County was a County within the

state of Illinois.   Defendant Cook County is liable for the wrongful acts and

omissions of Defendant Garfinkel taken in the course and scope of his employment

pursuant to Defendant Cook County’s statutory obligation to indemnify him.

                                Factual Allegations

      The Murder of Antwinica Bridgeman

      14.    On or about April 11, 1994, Antwinica Bridgeman (“Bridgeman”) went

missing after attending a birthday party at 923 W. 55th Street in Chicago, Illinois.

      15.    On April 28, 1994, Nevest Coleman (“Coleman”) and Michael Barger

discovered Bridgeman’s body in the basement of 917 W. 55th Street.

      16.    Police were contacted.

      17.    All of the above-named Defendant Officers took part in the subsequent

investigation.

      18.    Bridgeman had been the victim of a brutal sexual assault and murder.

      19.    A six-inch pipe had been inserted into Bridgeman’s vagina. Two inches

of the pipe remained exposed.

      20.    A piece of rock or concrete had been forced into Bridgeman’s mouth

and down her throat.




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      21.      An autopsy determined that the cause of Bridgeman’s death was

suffocation.

      22.      The basement in which Bridgeman’s body had been found was

accessible only from a doorway that exited into the gangway to the west of the

Coleman residence.

      23.      The Defendant Officers observed various items in the basement,

including two used condoms, beer cans, and other beverage containers.

      24.      Two hand-rolled cigarettes containing PCP were found near the door

into the basement.

      25.      Employees at the Cook County Medical Examiner’s Office recovered

various items of clothing that the victim was wearing when her body was

discovered. This included the victim’s underwear and a yellow sweatshirt.

      26.      The Cook County Medical Examiner’s Office also collected fingernail

clippings from the victim’s right and left hands.

      27.      The victim’s underwear, sweatshirt, and fingernails were given to

police and maintained as evidence.

      Information Purportedly Provided by Chester Latham

      28.      After Bridgeman’s body was removed from the scene, Defendants Foley

and Clancy interviewed Chester Latham (“Latham”) at the Cook County Medical

Examiner’s Office.

      29.      Latham informed Defendants Foley and Clancy that he last saw

Bridgeman the day before her disappearance.



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      30.   According to Latham, while he was with Bridgeman he observed a

hickey on her neck.

      31.   Latham informed Defendants Foley and Clancy that he asked

Bridgeman how she got the hickey.

      32.   Latham purportedly told Defendants Foley and Clancy that Bridgeman

told Latham that a person named “Chip” had tried to forcibly sexually assault her,

but that she fought him off and ran away from him.

      33.   Latham also told Defendants Foley and Clancy that Bridgeman had

changed allegiances from the Vice Lords to the Gangster Disciples.

      34.   According to Defendants Foley and Clancy, Latham told them that two

individuals nicknamed “Chip” and “Dap” were “bothering” Bridgeman about her

changing gangs.

      The Defendant Officers Target Plaintiff

      35.   The Defendant Officers subsequently determined Eddie Taylor to be

the “Chip” referenced by Latham.

      36.   The Defendant Officers subsequently determined Plaintiff to be the

“Dap” referenced by Latham.

      37.   Despite the lack of any credible information suggesting that Plaintiff

was involved in the brutal sexual assault and murder of Bridgeman, the Defendant

Officers targeted him based solely on the information ostensibly provided by

Latham.




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      38.    After Defendants Foley and Clancy interviewed Latham, the

Defendant Officers entered into a conspiracy to falsely implicate Plaintiff by any

means necessary.

      The Defendant Officers and Defendant Garfinkel Fabricate Evidence
      against Plaintiff

      39.    In the early-morning hours of April 29, 1994, Defendants Halloran and

Boudreau arrested Nevest Coleman and transported him to Area 1.

      40.    At no time did any of the Defendant Officers give Coleman his

Miranda rights.

      41.    Coleman was interrogated by the Defendant Officers.

      42.    Coleman denied any involvement in the victim’s sexual assault and

murder.

      43.    The Defendant Officers left the interrogation room.

      44.    Approximately 30 minutes later, an Unidentified Defendant Officer

entered the room.

      45.    The Unidentified Defendant Officer called Coleman a “lying-assed

nigger.”

      46.    Coleman told the Unidentified Defendant Officer that he was not lying,

and that he had told the Defendant Detectives all that he knew.

      47.    The Unidentified Defendant Officer then hit Coleman twice on the

right side of Coleman’s head with a closed fist.




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      48.    All of the Defendant Officers were aware that the Unidentified

Defendant Officer entered the interrogation room to threaten and physically abuse

Coleman.

      49.    All of the Defendant Officers were aware that the Unidentified

Defendant Officer threatened and physically abused Coleman.

      50.    Later, a different Unidentified Defendant Officer falsely told Coleman

that if he just answered their questions, he would be able to go home.

      51.    Once again, all of the Defendant Officers were aware that one of the

Unidentified Defendant Officers falsely told Coleman that if he just answered their

questions he would be able to go home.

      52.    The Defendant Officers contacted Defendant Garfinkel and requested

that he report to the Area.

      53.    Defendant Garfinkel joined the investigation and entered into the

Defendant Officers’ conspiracy to falsely implicate Plaintiff in the assault and

murder.

      54.    Defendant Garfinkel interviewed Coleman.

      55.    At the time Defendant Garfinkel interviewed Coleman, there was no

probable cause to believe that Plaintiff perpetrated the sexual assault and murder

of Bridgeman.

      56.    Coleman told Defendant Garfinkel that the Unidentified Defendant

Officer had physically abused him.




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      57.    Coleman told Defendant Garfinkel that he had no involvement in

Bridgeman’s assault and murder.

      58.    Defendant Garfinkel did not prepare a statement reflecting Coleman’s

claim that an officer had physically abused him, or that Coleman denied any

involvement in Bridgeman’s assault and murder.

      59.    Instead, Defendant Garfinkel falsely told Coleman that they would

worry about the officer having hit him at a later date.

      60.    Defendant Garfinkel falsely told Coleman that he was there to help

Coleman.

      61.    The Defendant Officers and Defendant Garfinkel falsely told Coleman

that if he went along with their version of his “confession,” Coleman would be

allowed to go home.

      62.    The Defendant Officers and Defendant Garfinkel described a scenario

for Coleman in which he, Plaintiff, and Eddie Taylor participated in the rape and

murder of Bridgeman.

      63.    The Defendant Officers and Defendant Garfinkel rehearsed with

Coleman what he was to say in front of the court reporter.

      64.    Defendant Garfinkel thereafter led Coleman through a court-reported

“confession,” which Coleman signed.

      65.    The Defendant Officers and Defendant Garfinkel knew that Coleman’s

“confession” was fabricated, and that Coleman only gave the statement as the result

of the physical and mental coercion to which they subjected him.



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        66.   The   Defendant    Officers    subsequently     memorialized   the   false

statements they attributed to Coleman in police reports, which were used to support

the charges against Plaintiff and deny him bond pending trial.

        The Defendant Officers and Defendant Garfinkel Unlawfully Coerce
        a False Confession From Plaintiff

        67.   Based on the information from Coleman they knew to be false,

Defendants Foley, Halloran, Boudreau, O’Brien, and Carroll went to Plaintiff’s

residence and arrested him.

        68.   Plaintiff arrived at the Area at approximately 7:30 a.m. on April 29,

1994.

        69.   Plaintiff was placed in a small interrogation room and handcuffed to a

ring on the wall.

        70.   At no time was Plaintiff given his Miranda warnings.

        71.   The Defendant Officers interrogated Plaintiff.

        72.   Plaintiff denied any involvement in the offense.

        73.   During the course of Plaintiff’s interrogation, an Unidentified

Defendant Officer entered the room and hit Plaintiff in the face.

        74.   The same Unidentified Defendant Officer threatened to remove

Plaintiff from the station and “put a bullet in his brain.”

        75.   All of the Defendant Officers were aware that the Unidentified

Defendant Officer threatened and physically abused Plaintiff.

        76.   Defendant Garfinkel then interviewed Plaintiff.




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      77.    At the time Defendant Garfinkel interviewed Plaintiff, there was no

probable cause to believe that Plaintiff perpetrated the sexual assault and murder

of Bridgeman.

      78.    Defendant Garfinkel knew that Plaintiff had been physically coerced

and threatened by the Unidentified Defendant Officer prior to his interview.

      79.    Defendant Garfinkel showed Coleman’s fabricated court-reported

statement to Plaintiff.

      80.    Plaintiff continuously told Defendant Garfinkel that he had nothing to

do with the crime.

      81.    Defendant Garfinkel falsely told Plaintiff that if he gave a statement,

he would be released.

      82.    Defendant Garfinkel then prepared a handwritten statement, dictating

to Plaintiff his involvement in Bridgeman’s rape and murder.

      83.    The handwritten statement further implicated Coleman and Eddie

Taylor in the crime.

      84.    Plaintiff signed the “confession.”

      85.    The Defendant Officers and Defendant Garfinkel knew that Plaintiff’s

“confession” was fabricated, and that Plaintiff only gave the statement as the result

of the physical and mental coercion to which they subjected him.

      86.    The     Defendant   Officers    subsequently   memorialized   the   false

statements they attributed to Plaintiff in reports, which were used to support the

charges against Plaintiff and deny him bond pending trial.



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      Plaintiff’s Charges, Trial, and Conviction

      87.    Based on Coleman’s and Plaintiff’s “confessions,” Plaintiff was charged

with first-degree murder and aggravated criminal sexual assault.

      88.    Plaintiff was charged under the name “Darryl Fulton,” which is an

incorrect spelling of his first name.

      89.    Coleman’s and Plaintiff’s “confessions” were used by the State and

relied on by the trial court in denying Plaintiff bond.

      90.    At Plaintiff’s trial, the only evidence connecting him to the offense was

the fabricated statements and confession attributed to him by the Defendant

Officers and Defendant Garfinkel.

      91.    On May 13, 1997, Plaintiff was convicted following a jury trial of both

murder and aggravated criminal sexual assault.

      92.    On July 28, 1997, the State filed a written motion to qualify Plaintiff

as death-eligible.

      93.    On July 29, 1997, the trial court denied the State’s motion, and instead

sentenced Plaintiff to natural life.

      Post-Conviction DNA Testing Exonerates Plaintiff

      94.    In 2016, the Conviction Integrity Unit of the Cook County State’s

Attorney’s Office (“the CIU”) initiated a re-examination of Plaintiff’s conviction.

      95.    In June of 2016, the CIU submitted several items of evidence to the

Illinois State Police Division of Forensic Services (“the ISP Lab”).




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       96.      Among the items submitted to the ISP Lab included the sweatshirt

and underwear the victim was wearing when her body was recovered, as well as her

fingernail clippings.

       97.      The ISP Lab performed testing that indicated the presence of semen at

several locations on the victim’s sweatshirt.

       98.      The ISP Lab performed testing that indicated the presence of semen

inside the victim’s underwear, as well as “blood-like stains.”

       99.      In December of 2016, the CIU agreed to submit several items of

evidence for DNA testing, including the victim’s sweatshirt, underwear, and nail

clippings.

       100.     A partial male profile was obtained from the victim’s left-hand

fingernail clippings. Plaintiff, Coleman, and Eddie Taylor are all excluded from

that profile.

       101.     A partial male profile was obtained from the semen stain on the

victim’s underwear. Plaintiff, Coleman, and Eddie Taylor are all excluded from that

profile.

       102.     The partial male profile obtained from the victim’s left-hand fingernail

clippings is consistent with the partial male profile obtained from the semen stain

on the victim’s underwear.

       103.     The partial male profile obtained from the underwear was uploaded

into the Combined DNA Indexing System (“CODIS”).




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        104.   The partial male profile obtained from the semen stain in the victim’s

underwear “hit” on the DNA profile of an individual who, on information and belief,

has been convicted of multiple rapes (“the CODIS hit”).

        105.   Partial male profiles were obtained from two of the semen stains on

the victim’s sweatshirt. Plaintiff, Coleman, and Eddie Taylor are all excluded from

those profiles. The CODIS hit could not be excluded from the profiles.

        106.   Several other items were submitted for examination and possible DNA

analysis, including the rock and pipe, other pieces of the victim’s clothing, hairs

recovered from the victim’s clothing, and the bottles found at the scene.

        107.   Plaintiff has been excluded from every single piece of forensic evidence

connected to the rape and murder that is capable of being tested.

        Plaintiff’s Convictions are Vacated and the Charges Against him
        Dropped

        108.   Upon the motion of the State, Plaintiff’s convictions and sentences

were vacated on November 17, 2017, and he was ordered to be released on an I-

Bond.

        109.   On November 20, 2017, Plaintiff was released from prison after more

than 23-and-a-half years of incarceration.

        110.   On December 1, 2017, the Cook County State’s Attorney’s Office moved

to dismiss all of the charges against Plaintiff, thus terminating the proceedings in

Plaintiff’s favor.




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      Plaintiff’s Damages

      111.   As a result of the Defendants’ misconduct, Plaintiff spent 8,607 days

incarcerated for a crime he did not commit. Plaintiff endured the stigma of having

perpetrated a brutal rape and murder in which he had no involvement. Even more

so, Plaintiff suffered incalculable mental anguish and emotional pain stemming

from his lengthy incarceration.      He missed spending hundreds of holidays,

birthdays, and social gatherings with family and friends.      Plaintiff has lost the

opportunity to be a father to his daughter, having been incarcerated for almost her

entire life. At the same time, Plaintiff was locked up in an environment where any

day he could have been beaten, sexually assaulted, or even murdered. Plaintiff

languished in his prison cell, not knowing if he would spend the remainder of his

life behind prison walls.

      112.   Plaintiff’s damages include, but are not limited to, emotional distress,

mental anguish, humiliation, loss of liberty, loss of freedom of movement, loss of

enjoyment of life, loss of consortium, and other non-pecuniary losses.




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                                  Causes of Action

                                      COUNT I

                42 U.S.C. § 1983 – 14th Amendment Due Process
                            Fabrication of Evidence
                 (Against All Individually-Named Defendants)

      113.   Each foregoing paragraph of this Complaint is incorporated as if fully

set forth herein.

      114.   As described more fully above, all of the Defendants, while acting

individually, jointly, and in conspiracy, deprived Plaintiff of his constitutional right

to due process by deliberately fabricating statements, reports, and other evidence.

      115.   The    Defendants’   misconduct     described   herein   was   objectively

unreasonable and was undertaken with deliberate indifference to Plaintiff’s

constitutional rights.

      116.   The Defendants’ misconduct described herein shocks the conscience.

      117.   As a direct and proximate result of the misconduct described herein,

Plaintiff was charged with aggravated criminal sexual assault and first-degree

murder.

      118.   As a further direct and proximate result of the misconduct described

herein, Plaintiff was denied bond and detained in the county jail prior to trial.

      119.   As a further direct and proximate result of the misconduct described

herein, Plaintiff suffered injuries, including but not limited to loss of liberty,

emotional distress, and mental anguish as more fully described above.




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                                      COUNT II

             42 U.S.C. § 1983 – 5th and 14th Amendment Due Process
                                Coerced Confession
                 (Against All Individually-Named Defendants)

      120.   Each foregoing paragraph of this Complaint is incorporated as if fully

set forth herein.

      121.   As described more fully above, all of the Defendants, while acting

individually, jointly, and in conspiracy, deprived Plaintiff of his constitutional right

to be free from compelled self-incrimination.

      122.   As described more fully above, the Defendants did not provide Plaintiff

with any Miranda warnings and denied Plaintiff access to legal counsel for the

duration of his interrogation.

      123.   As described more fully above, the Defendants coerced Plaintiff

through physical violence, threats of physical violence, and false promises of

leniency.

      124.   As a result of the misconduct described herein, the Defendants

compelled Plaintiff to sign a false confession.

      125.   The    Defendants’    misconduct     described   herein   was   objectively

unreasonable and was undertaken with deliberate indifference to Plaintiff’s

constitutional rights.

      126.   The Defendants’ misconduct described herein shocks the conscience.




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      127.   As a direct and proximate result of the misconduct described herein,

Plaintiff was charged with aggravated criminal sexual assault and first-degree

murder.

      128.   As a further direct and proximate result of the misconduct described

herein, Plaintiff was denied bond and detained in the county jail prior to trial.

      129.   As a further direct and proximate result of the misconduct described

herein, Plaintiff was convicted of aggravated criminal sexual assault and first-

degree murder.

      130.   As a further direct and proximate result of the misconduct described

herein, Plaintiff suffered injuries, including but not limited to loss of liberty,

emotional distress, and mental anguish as more fully described above.

                                     COUNT III

       42 U.S.C. § 1983 – Conspiracy to Deprive Constitutional Rights
               (Against All Individually-Named Defendants)

      131.    Each foregoing paragraph of this Complaint is incorporated as if fully

set forth herein.

      132.   As described more fully above, after the discovery of Antwinica

Bridgeman’s body, the Defendants reached an agreement amongst themselves to

frame Plaintiff for the crime and to thereby deprive Plaintiff of his constitutional

rights as described in the Counts above.

      133.    As described more fully above, all of the Defendants had knowledge of

and/or participated in the fabrication of evidence against Plaintiff in the form of




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Nevest Coleman’s false confession, the details of which were supplied by the

Defendants.

      134.    As described more fully above, all of the Defendants were aware that

Plaintiff’s false confession was the product of physical and mental coercion, the

details of which were supplied by the Defendants and calculated to coincide with

Coleman’s false confession.

      135.    In this manner, the Defendants conspired by concerted action to

accomplish an unlawful purpose by an unlawful means.

      136.    In furtherance of the conspiracy, each of the co-conspirators committed

overt acts and was an otherwise willful participant in joint activity.

      137.    The   Defendants’   misconduct    described    herein      was   objectively

unreasonable and was undertaken with deliberate indifference to Plaintiff’s

constitutional rights.

      138.    The Defendants’ misconduct described herein shocks the conscience.

      139.    As a direct and proximate result of the misconduct described herein,

Plaintiff was charged with aggravated criminal sexual assault and first-degree

murder.

      140.    As a further direct and proximate result of the misconduct described

herein, Plaintiff was denied bond and detained in the county jail prior to trial.

      141.    As a further direct and proximate result of the misconduct described

herein, Plaintiff was convicted of aggravated criminal sexual assault and first-

degree murder.



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      142.   As a further direct and proximate result of the misconduct described

herein, Plaintiff suffered injuries, including but not limited to loss of liberty,

emotional distress, and mental anguish as more fully described above.

                                     COUNT IV

                       42 U.S.C. § 1983 – Failure to Intervene
                    (Against All Individually-Named Defendants)

      143.   Each foregoing paragraph of this Complaint is incorporated as if fully

set forth herein.

      144.   As described more fully above, during the constitutional violations

alleged herein, one or more of the Defendants stood by without intervening to

prevent the misconduct.

      145.   The     Defendants’   misconduct   described    herein   was   objectively

unreasonable and was undertaken with deliberate indifference to Plaintiff’s

constitutional rights.

      146.    As a direct and proximate result of the misconduct described herein,

Plaintiff was charged with aggravated criminal sexual assault and first-degree

murder.

      147.   As a further direct and proximate result of the misconduct described

herein, Plaintiff was denied bond and detained in the county jail prior to trial.

      148.   As a further direct and proximate result of the misconduct described

herein, Plaintiff was convicted of aggravated criminal sexual assault and first-

degree murder.




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      149.   As a further direct and proximate result of the misconduct described

herein, Plaintiff suffered injuries, including but not limited to loss of liberty,

emotional distress, and mental anguish as more fully described above.

                                     COUNT V

                      Illinois State Law – Malicious Prosecution
                    (Against All Individually-Named Defendants)

      150.   Each foregoing paragraph of this Complaint is incorporated as if fully

set forth herein.

      151.   As described more fully above, the Defendants knowingly and

maliciously initiated and/or caused judicial proceedings to continue against Plaintiff

without probable cause.

      152.   The prosecution terminated in Plaintiff’s favor on December 1, 2017,

when all charges were nolle prosequi.

      153.   As a further direct and proximate result of the misconduct described

herein, Plaintiff suffered injuries, including but not limited to loss of liberty,

emotional distress, and mental anguish as more fully described above.

                                    COUNT VI

       Illinois State Law – Intentional Infliction of Emotional Distress
                 (Against All Individually-Named Defendants)

      154.   Each foregoing paragraph of this Complaint is incorporated as if fully

set forth herein.

      155.   As described more fully above, the Defendants’ misconduct was

extreme and outrageous.



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      156.   As described more fully above, the Defendants intended to cause, or

were in reckless disregard of the probability that there misconduct would cause,

severe emotional distress to Plaintiff.

      157.   As a direct and proximate result of the misconduct described herein,

Plaintiff suffered injuries, including but not limited to severe emotional distress and

mental anguish as more fully described above.

                                     COUNT VII

                          Illinois State Law – Conspiracy
                    (Against All Individually-Named Defendants)

      158.   Each foregoing paragraph of this Complaint is incorporated as if fully

set forth herein.

      159.   As described more fully above, the Defendants together reached an

understanding, engaged in a course of conduct, engaged in a joint action, and

otherwise conspired among and between themselves to maliciously prosecute

Plaintiff without probable cause and to intentionally inflict emotional distress.

      160.   As described more fully above, in furtherance of the conspiracy, the

Defendants committed overt acts including the fabrication of Nevest Coleman’s

statement, the unlawful coercion of Plaintiff’s “confession,” and the falsification of

witness statements in police reports.

      161.   The conspiracy alleged herein was initiated on or about April 28, 1994,

and continues to the present.




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      162.   As a direct and proximate result of the misconduct described herein,

Plaintiff suffered injuries, including but not limited to loss of liberty, emotional

distress, and mental anguish as more fully described above

                                    COUNT VIII

                     Illinois State Law – Indemnification
                (Against the City of Chicago and Cook County)

      163.   Each foregoing paragraph of this Complaint is incorporated as if fully

set forth herein.

      164.   Defendant City of Chicago was the employer of each of the Defendant

Officers at all times relevant to this complaint.

      165.   All of the individually-named Defendant Officers were acting within

the course and scope of their employment at all times relevant to this complaint.

      166.   Defendant Cook County was the employer of Defendant Garfinkel at

all times relevant to this complaint.

      167.   Defendant Garfinkel was acting within the course and scope of his

employment at all times relevant to this complaint.

      168.   Pursuant to 745 ILCS 10/9-102, Defendant City of Chicago and

Defendant Cook County are liable to pay all judgments and settlements entered

against their respective employees for the claims set forth above.




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                                     COUNT IX

                   Illinois State Law – Respondeat Superior
                (Against the City of Chicago and Cook County)

      169.   Each foregoing paragraph of this Complaint is incorporated as if fully

set forth herein.

      170.   Defendant Garfinkel and the Defendant Officers acted as agents of,

and in the scope of their employment with, Defendants Cook County and City of

Chicago, respectively, at all times relevant to this complaint.

      171.   Defendants Cook County and City of Chicago are liable for the state-

law torts of their employees under the doctrine of respondeat superior.

                                 Prayer for Relief

      Wherefore, Plaintiff, Derrell Fulton, a.k.a. Darryl Fulton, respectfully

requests that this Court enter judgment in his favor and against Defendants

William Foley, Michael Clancy, John Halloran, Kenneth Boudreau, James O’Brien,

Edward Carroll, William Moser, Albert Graf, S. Turner, Other Unidentified Chicago

Police Officers, the City of Chicago, Harold Garfinkel, and Cook County, awarding

compensatory damages, costs, and attorneys’ fees, along with punitive damages

against each of the individually-named Defendants in their individual capacities, as

well as any other relief this Court deems just and appropriate.




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                                    Jury Demand

      Plaintiff, Derrell Fulton, hereby demands a trial by jury pursuant to Federal

Rule of Civil Procedure 38(b) on all issues so triable.

                                          Respectfully submitted,

                                          /s/ Kathleen T. Zellner
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